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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND
Securities and Exchange Commission
                                                        *
      Plaintiff,
                                                        *
      v.                                                         Case No. 8:22-cv-03284-PX
                                                        *
Kazem Kazempour
      Defendant.                                        *

                                 MOTION FOR ADMISSION PRO HAC VICE

            I, Benjamin A. O'Neil                  , am a member in good standing of the bar of this

Court. I am moving the admission of Jason H. Cowley

to appear pro hac vice in this case as counsel for Defendant Kazem Kazempour                             .


            We certify that:

            1. The proposed admittee is not a member of the Maryland bar and does not maintain
               any law office in Maryland

            2. The proposed admittee is a member in good standing of the bars of the following
               State Courts and/or United States Courts:

                      State Court & Date of Admission           U.S. Court & Date of Admission
               North Carolina - 8/26/2004                   Please see attached sheet.
               New York - 8/21/2020
               District of Columbia - 2/4/2021



            3. During the twelve months immediately preceding this motion, the proposed admittee
               has been admitted pro hac vice in this Court _______
                                                            0       time(s).

            4. The proposed admittee has never been disbarred, suspended, or denied admission to
               practice law in any jurisdiction. (NOTE: If the proposed admittee has been
               disbarred, suspended, or denied admission to practice law in any jurisdiction, then
               he/she must submit a statement fully explaining all relevant facts.)

            5. The proposed admittee is familiar with the Maryland Attorneys’ Rules of Professional
               Conduct, the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the
               Federal Rules of Appellate Procedure, and the Local Rules of this Court, and
               understands he/she shall be subject to the disciplinary jurisdiction of this Court.

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            6. The proposed admittee understands admission pro hac vice is for this case only and
               does not constitute formal admission to the bar of this Court.
                                                   Caroline Schmidt Burton
            7. Either the undersigned movant or _________________________________________,
               is also a member of the bar of this Court in good standing, and will serve as co-
               counsel in these proceedings.

            8. The $100.00 fee for admission pro hac vice accompanies this motion.

            9. We hereby certify under penalties of perjury that the foregoing statements are true
               and correct.


MOVANT                                                   PROPOSED ADMITTEE

                       /s/                                                /s/
Signature                                                Signature              (signed by Benjamin A. O'Neil with
                                                                                permission of Jason H. Cowley)
Benjamin A. O'Neil / Fed. Bar No. 29078                  Jason H. Cowley
Printed name and bar number                              Printed name
McGuireWoods LLP                                         McGuireWoods LLP
Office name                                              Office name
888 16th Street N.W., Suite 500
Black Lives Matter Plaza                                 201 North Tryon Street, Suite 3000
Washington, DC 20006                                     Charlotte, NC 28202
Address                                                  Address
(202) 857-2466                                           (704) 343-2030
Telephone number                                         Telephone number
(202) 828-2966                                           (704) 373-8830
Fax Number                                               Fax Number
boneil@mcguirewoods.com                                  jcowley@mcguirewoods.com
Email Address                                            Email Address




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                      Attachment to Motion for Admission Pro Hac Vice
                          U.S. Court Admissions of Jason H. Cowley

Court                                                            Date of Admission

U.S. District Court for the Eastern District of North Carolina   12/30/2005
U.S. District Court for the Western District of North Carolina   8/13/2020
U.S. District Court for the Middle District of North Carolina    8/11/2020
U.S. District Court for the Eastern District of New York         9/2/2020
U.S. District Court for the Southern District of New York        3/17/2021
U.S. District Court for the Northern District of New York        3/19/2021
U.S. District Court for the District of Columbia                 10/4/2021
U.S. District Court for the Northern District of Illinois        3/24/2021
